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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

      In re                                                Chapter 11

      FTX TRADING LTD., et al.,1                           Case No. 22-11068 (JTD)
                                                           (Jointly Administered)
                                   Debtors.
                                                           Re: D.I. 4814, 4816, 9539, 9517, 9555, 9473,9432, 9545,
                                                           9550, 9465, 9543, 9504, 9463, 9468
                                                           Hearing Date: June 13, 2024, at 12:00 p.m. ET


                     FEE EXAMINER’S SUMMARY REPORT
         ON FEE REVIEW PROCESS AND FIFTH INTERIM FEE APPLICATIONS

TO:      THE HONORABLE JOHN T. DORSEY
         UNITED STATES BANKRUPTCY JUDGE:

         The Fee Examiner appointed in the above-captioned chapter 11 cases (the “Fee

Examiner”) submits this summary report (the “Report”) pursuant to the Order (I) Appointing Fee

Examiner and (II) Establishing Procedures for Consideration of Requested Fee Compensation

and Reimbursement of Expenses [D.I. 834] (the “Fee Examiner Order”) to advise the Court on

the status of the fee review process and to recommend the Court’s approval of the fees and

expenses outlined on the attached Exhibit A on an interim basis, as discussed in detail below.

The Fee Examiner is continuing productive discussions with the applicant listed on Exhibit B,

requesting that application be adjourned to a subsequent hearing date.

Summary of Recommendations

         The Fee Examiner has reached consensual agreements, subject to Court approval, with

most applicants for the Fifth Interim Fee Period (November 1, 2023-January 31, 2024), including


1
 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification number is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
Unit 3B, Bryon’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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the deferred interim application from the Fourth Interim Fee Period (August 1, 2023-October 31,

2023). See Fee Examiner’s Summary Report on Fee Review Process and Fourth Interim Fee

Applications [D.I. 9157] (the “Fourth Report”); Fee Examiner’s Notice Regarding the Second,

Third, and Fourth Interim Fee Applications of Paul Hastings LLP as Counsel to the Official

Committee of Unsecured Creditors [D.I. 13179] (the “Paul Hastings Resolution Notice”). The

Fee Examiner’s recommended adjustments—all consensual—are outlined on the attached

Exhibit A.

Status of Reserved Issues

       As noted in the Fourth Report, the Fee Examiner’s Summary Report on Fee Review

Process and Second Interim Fee Applications Scheduled for Uncontested Hearing on

September 13, 2023 [D.I. 2427] (the “Second Report”) and the Fee Examiner’s Summary Report

on Fee Review Process and Third Interim Fee Applications Scheduled for Uncontested Hearing

on December 13, 2023 [D.I. 4492] (the “Third Report”), some concerns remain “Reserved

Issues” that may benefit from longer-term, retrospective analysis. Importantly, some of the fee

and expense adjustments recommended in this Report include resolution of Reserved Issues from

prior fee periods. Those instances are noted in the application-specific discussions below. Other

issues remain reserved because they may benefit from continued discussion and analysis,

including matters addressed in the recently filed Report of Robert J. Cleary, Examiner [D.I.

15545] (the “Examiner Report”), now under review.

Kroll Security Incident

       As noted in the Fourth Report, on Saturday, August 19, 2023, the Debtors’ claims and

noticing agent, Kroll Restructuring Administration (“Kroll”), suffered a security breach during

which attackers gained access to certain files containing personal information of claimants. See




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https://www.kroll.com/en/about-us/news/security-incident. Upon learning of the incident, the

Debtors immediately engaged Sullivan and Cromwell LLP (“S&C”) and Alvarez & Marsal

North America, LLC (“A&M”) to assist in responding to the incident, which included assessing

the scope and extent of the incident and notifying and addressing inquiries from interested parties

and regulators. The Fee Examiner concluded that the Debtors’ estates should not bear ultimate

responsibility for the fees and expenses associated with remediating the data breach. The Fee

Examiner understands that the Debtors have been engaged in ongoing discussions with Kroll

and/or its insurers for indemnification of all remediation costs. As in the Fourth Interim Fee

Period, S&C and A&M have again each agreed to a 20 percent holdback of the fees incurred for

their work responding to this incident, and these holdback amounts have been incorporated into

the recommended adjustments discussed below and enumerated on Exhibit A. The Fee

Examiner anticipates that these holdbacks will be released—in full or in part—once the Debtors

have been made whole.

     UNCONTESTED APPLICATIONS RECOMMENDED FOR INTERIM COURT
       APPROVAL WITH ADJUSTMENTS AND RESERVATIONS OF RIGHTS

                                    DEBTOR PROFESSIONALS


Sullivan & Cromwell LLP

       1.      On March 15, 2024, S&C filed the Fifth Interim Fee Application of Sullivan &

Cromwell LLP for the period from November 1, 2023 through January 31, 2024 [D.I. 9504] (the

“S&C Fifth Fee Application”), seeking $31,584,104.90 in fees and $44,908.55 in expenses.

       2.      During the Fifth Interim Fee Period, S&C advised the Debtors on a wide variety

of complex matters, including continuing monetization of assets and analysis of avoidance

actions. S&C professionals also devoted significant efforts to resolving the IRS claim and

working on the revised plan and disclosure statement, among other things.


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       3.      The Fee Examiner identified a number of areas of concern, including possible

overstaffing, apparently excessive meeting and hearing attendance, too many attorneys billing to

review the Third Circuit’s examiner opinion, and various technical and procedural deficiencies

with respect to some time entries (including vague and lumped entries). After an extensive

exchange of information and discussion, the stipulated adjustments to fees and expenses outlined

on Exhibit A are sufficient to address the Fee Examiner’s concerns, with two continuing

Reserved Issues: (1) fees incurred to prepare interim reports and (2) fees devoted to the

investigation and prosecution of avoidance actions that may not have been described with

sufficient detail to allow for a determination of which avoidance matters they relate to. With

those express reservations, the Fee Examiner now recommends Court approval of the S&C Fifth

Fee Application, subject to the Reserved Issues and as adjusted and outlined on Exhibit A.

Alvarez & Marsal North America, LLC

       4.      On March 15, 2024, A&M filed the Fifth Interim Fee Application of Alvarez &

Marsal North America, LLC [D.I. 9517] for the period from November 1, 2023, through

January 31, 2024 (the “A&M Fifth Fee Application”), seeking $36,066,943.30 in fees and

$777,055.66 in expenses.

       5.      During the Fifth Interim Fee Period, A&M continued performing services related

to the Debtors’ business operations, claims reconciliation, asset sales, and avoidance actions.

A&M professionals expended significant time developing a liquidation analysis and supporting

the preparation of the amended plan and disclosure statement.

       6.      The Fee Examiner identified potentially top-heavy staffing, apparently excessive

meeting attendance, improperly documented expenses, and various technical and procedural

deficiencies with respect to some time entries (including vague and lumped entries). After an

extensive exchange of information and discussion, the stipulated adjustments to fees and


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expenses are sufficient to address the Fee Examiner’s concerns, with no Reserved Issues. The

Fee Examiner recommends the approval of the A&M Fifth Fee Application as adjusted and

outlined on Exhibit A.

AlixPartners, LLP

       7.      On March 15, 2024, AlixPartners, LLP (“AlixPartners”) filed the Fifth Interim

Application of AlixPartners, LLP, Forensic Investigation Consultant to the Chapter 11 Debtors

and Debtors-In-Possession, for Compensation for Professional Services Rendered and

Reimbursement of Expenses Incurred for the Period from November 1, 2023, through

January 31, 2024 [D.I. 9539] (the “AlixPartners Fifth Fee Application”), seeking $8,496,064.00

in fees and $77,680.61 in expenses.

       8.      As the Debtors’ forensic investigation consultant, AlixPartners continued its

forensic analysis of financial and accounting data, trading records, and other associated data, the

review and analysis of Debtors’ historical organizational documents, policies and procedures,

and constructing retrospective financial statements and other documents.

       9.      The Fee Examiner identified a number of areas of concern, including time

devoted to fee applications and potentially routine timekeeping tasks, possible over-attendance at

meetings, and inadequately documented expenses. After an extensive exchange of information

and discussion, the stipulated adjustments to fees and expenses are sufficient to address the Fee

Examiner’s concerns, with no Reserved Issues. The Fee Examiner is satisfied that the agreed

adjustments adequately address all identified issues and now recommends Court approval of the

AlixPartners Fifth Fee Application, as adjusted and outlined on Exhibit A.

Quinn Emanuel Urquhart & Sullivan, LLP

       10.     On March 15, 2024, Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn

Emanuel”) filed the Fifth Interim Fee Application of Quinn Emanuel Urquhart & Sullivan, LLP


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[D.I. 9543] for the period from November 1, 2023, through January 31, 2024 (the “Quinn

Emanuel Fifth Fee Application”), seeking $7,550,521.65 in fees and $13,053.32 in expenses.

       11.     As special counsel to the Debtors, Quinn Emanuel continued assisting the Debtors

with investigations into business operations, asset analysis and recovery, avoidance action

analysis, and bankruptcy litigation during the Fifth Interim Fee Period.

       12.     The Fee Examiner identified a number of areas of concern, including time

devoted to fee applications and potentially routine timekeeping tasks, possible overstaffing,

apparently excessive meeting or hearing attendance, and various technical and procedural

deficiencies with respect to certain time entries (including vague and lumped entries). The Fee

Examiner also identified a significant amount of time spent on the Daniel Friedberg adversary.

After an extensive exchange of information and discussion, the stipulated adjustments to fees and

expenses are sufficient to address the Fee Examiner’s concerns, with two continuing Reserved

Issues: (1) fees incurred to investigate and draft complaints that may not have been described

sufficiently in the time records to allow the Fee Examiner to determine which estate claims the

work relates to; and (2) research and litigation work related to the same vaguely-described causes

of action. The Fee Examiner now recommends Court approval of the Quinn Emanuel Fifth Fee

Application, subject to the Reserved Issues and as adjusted and outlined on Exhibit A.

Landis Rath & Cobb LLP

       13.     On March 15, 2024, Landis Rath & Cobb LLP (“LRC”) filed the Fifth Interim

Fee Application of Landis Rath & Cobb LLP [D.I. 9545] for the period from November 1, 2023,

through January 31, 2024 (the “LRC Fifth Fee Application”), seeking $1,286,387.50 in fees and

$23,638.46 in expenses.

       14.     During the Fifth Interim Fee Period, LRC continued to support the work of other

Debtor professionals as Delaware counsel.


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        15.     The Fee Examiner identified a number of areas of concern, including potentially

excessive time entry review. LRC has agreed to adjustments to fees that adequately address the

Fee Examiner’s concerns, with no Reserved Issues. The Fee Examiner now recommends the

LRC Fifth Fee Application for Court approval on an interim basis, with the adjustments outlined

on the attached Exhibit A.

Kroll Restructuring Administration LLC

        16.     On January 20, 2023, the Court entered the Order Authorizing Employment and

Retention of Kroll Restructuring Administration LLC as Administrative Advisor Nunc Pro Tunc

to the Petition Date [D.I. 544].

        17.     The Debtors retained Kroll to perform noticing services, to support balloting and

certification, to assist with the preparation of schedules of assets and liabilities, and to receive,

maintain, record, and otherwise administer proofs of claims and related tasks.

        18.     On March 15, 2024, Kroll filed the First Interim Fee Application of Kroll

Restructuring Administration LLC, Administrative Advisor to the Debtors, for the Period From

December 1, 2022 Through January 31, 2024 [D.I. 9432] (the “Kroll First Fee Application”),

requesting $30,215.00 in fees and no expenses.

        19.     The Fee Examiner’s letter report to Kroll identified several areas of concern,

including inconsistently recorded meeting times and failure to record time in tenth-hour

increments. Kroll has agreed to adjustments to fees that adequately address the Fee Examiner’s

concerns, and the Fee Examiner now recommends the Kroll First Fee Application for Court

approval on an interim basis with the adjustments outlined on Exhibit A.




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                                         UCC PROFESSIONALS

Paul Hastings LLP

           20.     On December 15, 2023, Paul Hastings LLP (“Paul Hastings”) filed the Fourth

Interim Fee Request of Paul Hastings LLP [D.I. 4814] and the Supplement to the Fourth Interim

Fee Application of Paul Hastings [D.I. 4816] (together the “Paul Hastings Fourth Fee

Application”), seeking $9,565,274.25 in fees and $298,738.59 in expenses.

           21.     As noted in the Fourth Report, the Fee Examiner identified significant issues of

concern in the Paul Hastings Fourth Fee Application which, added to the Reserved Issues from

the two prior fee applications, were anticipated to become a limited objection. See Fourth Report

at ¶ 36.

           22.     After extensive informal document discovery and discussion, the Fee Examiner

and Paul Hastings reached agreement on a set of global adjustments sufficient to resolve all of

the Fee Examiners concerns regarding the Paul Hastings Fourth Fee Application, as well as the

Reserved Issues from the prior two interim fee applications. See Paul Hastings Resolution

Notice. This resolution recommends the adjustments to the Paul Hastings Fourth Fee

Application outlined on the attached Exhibit A, along with additional adjustments to be applied

to the fifth and sixth interim fee period applications, sufficient to address the Fee Examiner’s

concerns.

           23.     The Fee Examiner now recommends the Paul Hastings Fourth Fee Application for

Court approval on an interim basis, with the adjustments outlined on the attached Exhibit A,

with no remaining Reserved Issues.

FTI Consulting, Inc.

           24.     On March 15, 2024, FTI Consulting, Inc. (“FTI”) filed the Fifth Interim Fee

Request of FTI Consulting, Inc. [D.I. 9463] and the Supplement to the Fifth Interim Fee


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Application of FTI Consulting, Inc., Financial Advisor to the Official Committee of Unsecured

Creditors, for Allowance of Compensation for Services Rendered and Reimbursement of

Expenses for the Period November 1, 2023 Through January 31, 2024 [D.I. 9473] (the “FTI

Fifth Fee Application”), seeking $6,205,426.00 in fees and $8,057.91 in reimbursement for

expenses.

       25.     During the Fifth Interim Fee Period, FTI continued advising the UCC on the

Debtors’ business operations and supporting the cryptocurrency/digital assets monetization

process.

       26.     The Fee Examiner identified a number of areas of concern, including rate

increases, retention and fee application time, potential staffing and rate inefficiencies, apparently

excessive meeting attendance, and various technical and procedural deficiencies with respect to

some time entries (including vague entries).

       27.     After an exchange of information and discussion about the FTI Fifth Fee

Application, the Fee Examiner has resolved all identified issues, including several Reserved

Issues. See Fourth Report at ¶ 23. As such, the Fee Examiner now recommends Court approval

of the FTI Fifth Fee Application on an interim basis, as adjusted and outlined on Exhibit A, with

no remaining Reserved Issues.

Young Conaway Stargatt & Taylor, LLP

       28.     On March 15, 2024, Young Conaway Stargatt & Taylor, LLP (“Young

Conaway”) filed the Fifth Interim Fee Request of Young Conaway Stargatt & Taylor, LLP [D.I.

9463] and the Supplement to Fifth Interim Fee Request of Young Conaway Stargatt & Taylor,

LLP [D.I. 9468] (together the “Young Conaway Fifth Fee Application”), seeking $263,627.50 in

fees and $763.55 in expenses.




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       29.     During the Fifth Interim Fee Period, Young Conaway continued in its role as

Delaware counsel to the UCC.

       30.     The Fee Examiner identified a number of areas of concern, including potentially

duplicative attendance at hearings, calls and meetings. After an extensive exchange of

information and discussion, Young Conaway has agreed to the adjustments to fees that

adequately address the Fee Examiner’s concerns. The Fee Examiner now recommends the

Young Conaway Fifth Fee Application for Court approval on an interim basis, with the

adjustments outlined on the attached Exhibit A.

                             AD HOC COMMITTEE PROFESSIONALS

Eversheds Sutherland (US) LLP

       31.     On March 15, 2024, Eversheds Sutherland (US) LLP (“Eversheds”) filed the

Second Interim Fee Application of Eversheds Sutherland (US) LLP, as Lead Counsel for the Ad

Hoc Committee of Non-US Customers of FTX.com, for Allowance of Compensation and

Reimbursement of All Actual and Necessary Expenses for the Period from November 1, 2023,

Through January 31, 2024 [D.I. 9555] (the “Eversheds Second Fee Application”), seeking

$1,276,656.50 in fees and no expenses.

       32.     During the Fifth Interim Fee Period, Eversheds advised the Ad Hoc Committee

(the “AHC”) on a wide variety of matters, including the ongoing coin monetization process and

the development of the amended plan and disclosure statement.

       33.     The Fee Examiner identified several areas of concern, including but not limited to

potential staffing and rate inefficiencies, excessive meeting attendance, and various technical and

procedural deficiencies with respect to some time entries (including vague and lumped entries).

The Fee Examiner also noted that Eversheds imposed rate adjustments effective January 1, 2024,




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which were apparently authorized in the Eversheds engagement letter,2 but not specifically

authorized by the Court’s Order Authorizing the Debtors to Enter Into, and Perform Their

Obligations Under, the Reimbursement Agreements [D.I. 3928]. See also Amended Motion of

Debtors to Enter Into, and Perform Their Obligations Under, the Reimbursement Agreements

[D.I. 3373], Ex. B-1. The rate adjustments, therefore, have been designated as a Reserved Issue.

        34.      Eversheds has agreed to fee adjustments that adequately address the Fee

Examiner’s remaining concerns, and the Fee Examiner now recommends the Eversheds Second

Fee Application for Court approval on an interim basis, with the adjustments outlined on the

attached Exhibit A.

Morris, Nichols, Arsht & Tunnell LLP

        35.      On March 15, 2024, Morris, Nichols, Arsht & Tunnell LLP (“Morris Nichols”)

filed the Combined Second Monthly and Second Interim Fee Application of Morris, Nichols,

Arsht & Tunnell LLP, as Co-Counsel to the Ad Hoc Committee of Non-US Customers of

FTX.com, for Allowance of Monthly Compensation and for Reimbursement of All Actual and

Necessary Expenses Incurred for the Period from November 1, 2023, Through and Including

January 31, 2024 [D.I. 9550] (the “Morris Nichols Second Fee Application”), seeking

$530,595.00 in fees and $2,533.50 in expenses.

        36.      During the Fifth Interim Fee Period, Morris Nichols—as Delaware co-counsel—

continued to support the Ad Hoc Committee in advancing its objectives.

        37.      The Fee Examiner identified several areas of concern, including but not limited to

potential staffing and rate inefficiencies, excessive meeting attendance, and technical and

procedural deficiencies with respect to certain time entries (including vague and lumped task


2
 See Certification of Sarah E. Paul [D.I. 9555-2], ¶ 2. The Eversheds engagement letter does not appear in the
Court record.


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descriptions). The Fee Examiner also noted that Morris Nichols imposed rate adjustments

effective January 1, 2024, which were apparently authorized in the Morris Nichols engagement

letter,3 but not specifically authorized by the Court’s Order Authorizing the Debtors to Enter

Into, and Perform Their Obligations Under, the Reimbursement Agreements [D.I. 3928]. See

also Amended Motion of Debtors to Enter Into, and Perform Their Obligations Under, the

Reimbursement Agreements [D.I. 3373], Ex. B-1. The rate adjustments, therefore, have been

designated as a Reserved Issue.

        38.      Morris Nichols has agreed to fee adjustments that adequately address the Fee

Examiner’s remaining concerns, and the Fee Examiner now recommends the Morris Nichols

Second Fee Application for Court approval on an interim basis, with the adjustments outlined on

the attached Exhibit A.

                                     DEFERRED APPLICATION

        39.      On March 15, 2024, Paul Hastings filed the Fifth Interim Fee Request of Paul

Hastings LLP [D.I. 9463] and the Supplement to the Fifth Interim Fee Application of Paul

Hastings [D.I. 9465] (together the “Paul Hastings Fifth Fee Application”), seeking $5,950,867.25

in fees and $206,325.25 in expenses.

        40.      In light of the Paul Hastings Resolution Notice, the Fee Examiner and the

professional are continuing their discussions regarding the Paul Hastings Fifth Fee Application

and request that the application be deferred to a future hearing date, as outlined on Exhibit B.

                                                  NOTICE

        41.      Pursuant to ¶ 9(g) of the Fee Examiner Order, the Fee Examiner will serve this

Summary Report by e-mail on counsel for the Debtors, on counsel for the Committee, and each


3
 See Morris Nichols Second Fee Application, ¶ 37(f). The Morris Nichols engagement letter does not appear in the
Court record.


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Applicant. The Fee Examiner will also serve this Summary Report upon the U.S. Trustee by

e-mail and first-class mail. A copy of this report is available on the website of the Debtors’

notice and claims agent at https://restructuring.ra.kroll.com/FTX/. The Fee Examiner submits

that, in light of the nature of this report, no other or further notice need be given.

                                           CONCLUSION

         WHEREFORE, the Fee Examiner respectfully requests the entry of an order, to be

submitted by Debtors’ counsel under certification, granting the relief requested and such other

and further relief as the Court may deem just and proper.

Dated: May 30, 2024.

                                               GODFREY & KAHN, S.C.

                                               By /s/ Mark W. Hancock
                                                  Mark W. Hancock (Pro Hac Vice)
                                                  One East Main Street, Suite 500
                                                  Madison, WI 53703
                                                  Telephone: (608) 297-3911
                                                  E-mail: mhancock@gklaw.com

                                                    Counsel for Fee Examiner

                                                    Katherine Stadler
                                                    ftxfeeexaminer@gklaw.com
                                                    Fee Examiner
31246975.4




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                     EXHIBIT A
                                                         Case 22-11068-JTD                        DocIn re:
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                                                                                                       DEB Case No. 22-11068 (JTD)                                                                                       Exhibit A

      Fourth - Fifth Interim Fee Period Applications
                                                                                                                                                                                 Fee Examiner's                          Interim
                                                                                  Compensation Period                               Fee Examiner's                                                  Interim Fees
                                                                                                                 Interim Fees                                Interim Expenses    Recommended                            Expenses
      Applicant                                                                      Docket Index                                   Recommended                                                    Recommended
                                                                                                                  Requested                                     Requested           Expense                          Recommended
                                                                                      Filed Date                                   Fee Adjustments                                                  for Approval
                                                                                                                                                                                  Adjustments                         for Approval
Fourth Interim Fee Period (August 1, 2023 - October 31, 2023)
                                                                                  8/1/2023 - 10/31/2023
      Paul Hastings LLP
 1                                                                                    D.I. 4814, 4816              $9,565,274.25       $325,000.00 FN1            $298,738.59              $0.00     $9,240,274.25      $298,738.59
      Counsel to the Official Committee of Unsecured Creditors
                                                                                       12/15/2023
Fifth Interim Fee Period (November 1, 2023 - January 31, 2024)
                                                                                  11/1/2023 - 1/31/2024
      AlixPartners, LLP
 2                                                                                      D.I. 9539                  $8,496,064.00       $186,986.38                  $77,680.61        $24,198.69     $8,309,077.62       $53,481.92
      Forensic Investigation Consultant to the Debtors
                                                                                       3/15/2024
                                                                                  11/1/2023 - 1/31/2024
      Alvarez & Marsal North America, LLC
 3                                                                                      D.I. 9517                 $36,066,943.30       $350,000.00                $777,055.66         $25,000.00   $35,716,943.30       $752,055.66
      Financial Advisors to the Debtors
                                                                                       3/15/2024
                                                                                  11/1/2023 - 1/31/2024
      Eversheds Sutherland (US) LLP
 4                                                                                      D.I. 9555                  $1,276,656.50        $58,820.12                       $0.00             $0.00     $1,217,836.38            $0.00
      Counsel for the Ad Hoc Committee of Non-US Customers of FTX.com
                                                                                       3/15/2024
                                                                                  11/1/2023 - 1/31/2024
      FTI Consulting, Inc.
 5                                                                                   D.I. 9463, 9473               $6,205,426.00       $345,221.60 FN2               $8,057.91             $0.00     $5,860,204.40        $8,057.91
      Financial Advisor to the Official Committee of Unsecure Creditors
                                                                                       3/15/2024
                                                                                  12/1/2022 - 1/31/2024
      Kroll Restructuring Administration LLC
 6                                                                                      D.I. 9432                     $30,215.00          $2,121.99                      $0.00             $0.00       $28,093.01             $0.00
      Administrative Advisor to the Debtors
                                                                                       3/15/2024
                                                                                  11/1/2023 - 1/31/2024
      Landis Rath & Cobb LLP
 7                                                                                      D.I. 9545                  $1,286,387.50        $17,391.75                  $23,638.46            $10.97     $1,268,995.75       $23,627.49
      Delaware Counsel to the Debtors
                                                                                       3/15/2024
   Morris, Nichols, Arsht & Tunnell LLP                                           11/1/2023 - 1/31/2024
 8 Delaware Counsel for the Ad Hoc Committee of Non-US Customers of                     D.I. 9550                    $530,595.00          $4,313.55                  $2,533.50             $0.00      $526,281.45         $2,533.50
   FTX.com                                                                             3/15/2024
                                                                                  11/1/2023 - 1/31/2024
      Quinn Emanuel Urquhart & Sullivan, LLP
 9                                                                                      D.I. 9543                  $7,550,521.65       $125,000.00                  $13,053.32         $1,109.25     $7,425,521.65       $11,944.07
      Special Counsel to the Debtors
                                                                                       3/15/2024
                                                                                  11/1/2023 - 1/31/2024
      Sullivan & Cromwell LLP
 10                                                                                     D.I. 9504                 $31,584,104.90       $530,000.00                  $44,908.55         $4,069.70   $31,054,104.90         $40,838.85
      Counsel to the Debtors
                                                                                       3/15/2024
                                                                                  11/1/2023 - 1/31/2024
      Young Conaway Stargatt & Taylor, LLP
 11                                                                                  D.I. 9463, 9468                 $263,627.50        $14,609.25                    $763.55              $0.00      $249,018.25           $763.55
      Delaware Counsel to the Official Committee of Unsecured Creditors
                                                                                       3/15/2024

      FN1 - The recommended fee adjustment is partially attributable to the agreed resolution of Second, Third, and Fourth Interim Reserved Issues.

      FN2 - The recommended fee adjustment is partially attributable to the agreed resolution of First, Second, Third and Fourth Interim Reserved Issues.




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                     EXHIBIT B
                                                        Case 22-11068-JTD        DocIn re:
                                                                                        16172           Filed 05/30/24
                                                                                           FTX Trading Ltd., et al.
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      Fifth Interim Fee Period Applications Deferred
                                                                                                                                                       Fee Examiner's                       Interim
                                                                   Compensation Period                            Fee Examiner's                                         Interim Fees
                                                                                              Interim Fees                          Interim Expenses   Recommended                         Expenses
      Applicant                                                       Docket Index                                Recommended                                           Recommended
                                                                                               Requested                               Requested          Expense                       Recommended
                                                                       Filed Date                                Fee Adjustments                                         for Approval
                                                                                                                                                        Adjustments                      for Approval
Fifth Interim Fee Period (November 1, 2023 - January 31, 2024)
                                                                   11/1/2023 - 1/31/2024
      Paul Hastings LLP
 1                                                                    D.I. 9463, 9465            $5,950,867.25                           $206,325.25
      Counsel to the Official Committee of Unsecured Creditors
                                                                         3/15/2024




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